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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

LINFO IP, LLC,                                )
     Plaintiff,                               )
                                              )       Civil Action No. 6:22-cv-00091
v.                                            )
                                              )
GUITAR CENTER, INC.                           )
     Defendant.                               )       JURY TRIAL DEMANDED
                                              )

          PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

          Linfo IP, LLC (“Linfo”) files this Original Complaint and demand for jury trial seeking

relief from patent infringement of the claims of 9,430,131 (“the ‘131 patent”) (referred to as the

“Patent-in-Suit”) by by Guitar Center, Inc. (“Guitar Center”).

          THE PARTIES


     1.   Plaintiff Linfo is a Texas Limited Liability Company with its principal place of business

located in Travis County, Texas.

     2. On information and belief, Guitar Center is a corporation organized under the laws of the

State of Delaware, with a regular and established place of business located at 4314 W Waco Dr,

Waco, TX 76710. On information and belief, Guitar Center sells and offers to sell products and

services throughout Texas, including in this judicial district, and introduces products and services

that perform infringing methods or processes into the stream of commerce knowing that they

would be sold in Texas and this judicial district. Guitar Center may be served through its registered

agent or anywhere thay may be found.

     I.      JURISDICTION AND VENUE


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    3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

    4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Texas and this judicial district; (ii) Defendant

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s business

contacts and other activities in the State of Texas and in this judicial district.

    5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and has a regular and established place of business in this District.

Further, venue is proper because Defendant conducts substantial business in this forum, directly

or through intermediaries, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct and/or

deriving substantial revenue from goods and services provided to individuals in Texas and this

District.

    II.      INFRINGEMENT

    A. Infringement of the ‘131 Patent

    6. On August 30, 2016, U.S. Patent No. 9,430,131 (“the ‘131 patent”, oncluded as an

attachment) entitled “System, methods, and user interface for organizing unstructured data

objects” was duly and legally issued by the U.S. Patent and Trademark Office. Linfo IP, LLC

owns the ‘131 patent by assignment.




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    7. The ‘131 patent relates to a novel and improved methods and apparatuses for conducting

electronic commerce.

    8. Guitar Center maintains, operates, and administers systems that facilitate organizing and

structuring an unstructured collection of electronic objects that infringes one or more claims of the

‘131 patent, including one or more of claims 1-20, literally or under the doctrine of equivalents.

Defendant put the inventions claimed by the ‘131 Patent into service (i.e., used them); but for

Defendant’s actions, the claimed-inventions embodiments involving Defendant’s products and

services would never have been put into service. Defendant’s acts complained of herein caused

those claimed-invention embodiments as a whole to perform, and Defendant’s procurement of

monetary and commercial benefit from it.

    9. Support for the allegations of infringement may be found in the following preliminary

table:




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US9430131         Garnet Hill
B1


18. A
computer-
implemented
method for
presenting
information,
comprising:
obtaining a
plurality of
electronic
objects
comprising
multiple files
or file folders
or directories
in a
computer file
system,
multiple
contacts in a
contact list
or address
book;
                  https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721

                  The reference includes subject matter disclosed by the claims of the patent after the priority date.
                  Garnet Hill has a review section displaying a plurality of electronic objects.
                  The venue of the company is:
                  231 Main Street Franconia, NH 03580
                  https://www.garnethill.com/CustomerServiceFormView?storeId=10054&langId=-1&catalogId=10054




 US9430131 B1           Garnet Hill




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identifying
an attribute or
attribute
value associated
with a subset of
objects in the
plurality of
electronic

objects,


                     For Example: The customer can select “color” as an attribute that is associated with the 1-5-Star
                     reviews.
                     https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721




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wherein the
attribute
includes a
piece of
metadata
including the
number of
times the
subset of
objects are
                   https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721
accessed           The reference describes: The customer can select “colors” as an attribute in the search window,
within a given     and the word “ color” is associated with a specific semantic attribute contained in a phrase of the
period of time,    5-Stars reviews.
or an attribute
obtained from
the content of
the subset of
objects,
including a
specific word
or phrase
contained in
the subset of
objects, or a
class

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membership
of the subset
of objects, or a
specific
semantic
attribute
associated
with a word or
phrase
contained in
the subset of
objects;




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B1

displaying a
name or
description
representing
the attribute or
attribute value
in a user
interface,



                   https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721

                   The reference describes For Example: when the customer selects color, the “color”
                   attributes is displayed in the user interface.




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B1


grouping the
subset of
objects into
a group, or
labeling the
subset of
objects with a
label based
on the
attribute or
attribute

value;




                 https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721

                 The reference describes: when the customer selects color, all of the “color” ratings and reviews
                 are grouped and displayed in the user interface




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providing an
option for the
group or label to
be associated
with an
importance value
specified by a
user;




                    https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721

                    The reference describes For Example: the customer can select highest rated, for all the
                    highest rated reviews to be displayed.




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receiving
the
importance
value
specified
by a user.




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      https://www.garnethill.com/wildflower-linen-shower-curtain/bedding-home/bath/shower-curtains/526721?listIndex=4&uniqueId=526721

      The reference describes For Example: When the customer selects highest rated, all the highest
      rated reviews are displayed.


These allegations of infringement are preliminary and are therefore subject to change.

   10. Guitar Center has and continues to induce infringement. Guitar Center has actively

          encouraged or instructed others (e.g., its customers and/or the customers of its related

          companies), and continues to do so, on how to use its products and services (e.g.,

          organizing unstructured data sets by priority) such as to cause infringement of one or more

          of claims 1–20 of the ‘131 patent, literally or under the doctrine of equivalents. Moreover,

          Guitar Center has known of the ‘131 patent and the technology underlying it from at least

          the filing date of the lawsuit.

   11. Guitar Center has and continues to contributorily infringe. Guitar Center has actively

          encouraged or instructed others (e.g., its customers and/or the customers of its related

          companies), and continues to do so, on how to use its products and services (e.g.,

          organizing unstructured data sets by priority) and related services such as to cause

          infringement of one or more of claims 1–20 of the ‘131 patent, literally or under the

          doctrine of equivalents. Moreover, Guitar Center has known of the ‘131 patent and the

          technology underlying it from at least the filing date of the lawsuit.

   12. Guitar Center has caused and will continue to cause LINFO damage by direct and indirect

          infringement of (including inducing infringement of) the claims of the ‘131 patent.

   III.       JURY DEMAND

          LINFO hereby requests a trial by jury on issues so triable by right.

   IV.        PRAYER FOR RELIEF

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WHEREFORE, LINFO prays for relief as follows:

 a.    enter judgment that Defendant has infringed the claims of the ‘131 patent;

 b.    award LINFO damages in an amount sufficient to compensate it for Defendant’s

       infringement of the ‘131 patent in an amount no less than a reasonable royalty or lost

       profits, together with pre-judgment and post-judgment interest and costs under 35 U.S.C.

       § 284;

 c.    award LINFO an accounting for acts of infringement not presented at trial and an award

       by the Court of additional damage for any such acts of infringement;

 d.    declare this case to be “exceptional” under 35 U.S.C. § 285 and award LINFO its attorneys’

       fees, expenses, and costs incurred in this action;

 e.    declare Defendant’s infringement to be willful and treble the damages, including attorneys’

       fees, expenses, and costs incurred in this action and an increase in the damage award

       pursuant to 35 U.S.C. § 284;

  f.   a decree addressing future infringement that either (i) awards a permanent injunction

       enjoining Defendant and its agents, servants, employees, affiliates, divisions, and

       subsidiaries, and those in association with Defendant from infringing the claims of the

       Patents-in-Suit, or (ii) awards damages for future infringement in lieu of an injunction in

       an amount consistent with the fact that for future infringement the Defendant will be an

       adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

       future infringement will be willful as a matter of law; and

 g.    award LINFO such other and further relief as this Court deems just and proper.




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                            Respectfully submitted,

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